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Extraction Report - Apple iOS Full File system

».. Cellebrite

www.cellebrite_com

Summary
Cellebrite Physical Anatyzer version 10.4.0.3378
Report creation time 2/4/2025 4:03:30 PM -05:00
Time zone settings (UTC) (UTC-05:00) New_York (America)
Examiner name
Case number BS-CURRIN-iPhone15
Case name BS-CURRIN-iPhone 15
Source Extraction
File System
Selected manufacturer Apple
Selected device name APPLE_IOS FULL FILE SYSTEM
Time Zone (UTC-05:00) New_York (America)
Plugins

1 | PADbBackupReportReader

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S Chats

1

® Telegram

108

(10 Deleted)

> Tagged items

Chats (1)

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Telegram

Dmed (1)

Group photos:

Start Time: 6/9/2024 1:07:49 AM(UTC-4)
Last Activity: 9/28/2024 9:55:46 PM(UTC-4)
Number of attachments: 30

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Case 1:24-cr-20494-RKA Document 42-1 Entered on FLSD Docket 04/09/2025

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Lm (c\ aun AY R=) 8M ers NAY '(oM ore] n(eRo]0) eg

eet etre
bere ti

bo) fol) PA0PL WY Gover dU Oe 9)

Caretta ish Fem BI utero RCo) \=19)

|B YromY(om arale)ey= em COM ate\iemtaromd(e (cM Meci= oleae lei MUTell(om=(e (eel M@ Itoi a em tale ocean)
bcclye fe) eg

ise teh ett aI
sifu
B=} °- ba elite)

LSI 10/ PAS AZ. FO ee eae a 2,10 Oe 9)

ps

acelin Lee!

PvE ei tee

Lecte lai e tire
Flere
ls toate ige ce
VARI PAtyL Ue des ye peated (OREO 9)

cea) BlOyZ|
Nase WU ahy
diesen elntTe
beste ty
CARI PAU YL: Or ae Ye 2 OR Oar 9)

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Lace) Loe)

@)%
tsoifec lvoe elsnnre)|
aCe

cet) tee

PNie esi ol

eile elit)
Lea Lett

eas Ope:

ine)
dies saath elt n Te
at lie ltt

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UA EMAL: Se Se Pir Wal oS Bk Ore 9

VAM PAUL Se Ses Loe a (ORO 9)

SARI PLaee Gwe seats NOR KOm 5)

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acelin Bish tee Blatiecem (yi aleag]
DU arslnlqoleim meele| (ois milaleMiarsln\ a vatcitow

Se ea een
Led fo gu
Tint PLOYL tee eayar-t ood (CORE Or-9)

e]sh Eom Barren Ce) slag)

CE VPA0 92.2 Si bevy bod 2111 (( 0 Oo 8)

re) te Biss Fey Blan =r (evs 1g)
LDN 7=) 0} qi Come [=m o)0 Marelcomn itp ieanva co) ace |0(>)

eee este
baie a
ih VPLOPL SAL. Seay 5,00 Keer 9)

23
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acelin ied bem Blatiecem (yu aleag
Parente

belie ti Nahe ban =)
La fe sto
Ete a ate ici)
TARY PAOeL te ee ahs ow = (CORK em-9)

bance) ee esabew Dn cem Ce ius ig)
PN toe

ariel aN ett
ede t
Li's’ bal te te)
Ven IMAC PZ Weal thes Wotaren od (CUR Een 3)

aceltt bees

(os)
aac(o tam (ob tiTe
ese tenses
TAL VMI YL Si wee oe oo (Oe RO 9)

eat FelsH Pay Blur leve (env n=1))

im (=\"48 910,6)
aire Vee tea)
Lat 0 56
TALI POL he ba eeelee ol (OREO)

Leith pees

ie (0) (ars Kem
atte clam enn]
arte bE

Bsa bem Feld oa) (ORO 9)

rcoetm to]suEey B)aslom (eh wig ip)
(Clorero mn olbmer-\ceo mo lolelomel=\ (ag

edie ti Nahe btn =)
La fe sto
PILI PLUYL. Ce oh bea od CUNEO 8)

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celts ee!

IN ieroms Mate Wom Olo1o18 IN /0) 8 dpe ra] (oe

eco tam etre
alien
TAL UYU YZ. sheet 200 od (ORR Om 9)

La eittw Pisa iee Bluse (ey in p)

bevetclgaicm prot Mi c\\ AM OM Sf (0) Meso m
Leite VN eta
Lea te tts

T/L plye Gees l tated 2) (URE Om 5)

Celt Ope

Xo)
edtle cis om oltt=
ere tte
TAL PLUYL: eee tose too OB Om 9)

Le 8)a eZ}
Naot
ites vam (oltre

eerie ttt
WAL PLi el: Be Lowrie oe (ORR On 9)

aceite Bisa Eee Blutco RCo ita]

WYAt/oT=somraig=mv(o)0 im Colm 'ce)s.cl ele peg
Por NAN eal
Led fo gn
TAL IPLUL Wal obec yw 2) (OREO §)

cela ee

PN eile

Leite slam (elenite||
are LB
ee i msliccrel
CALL: Sloe tthe Coy = (een 9)

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acelin elsS toe Blirinem(eitlag

Aelia
beet Pa Nenana
Led fo gu
WAL Sle 72. Uy eye loe. 2 a ea en.9)

eco) Lee!

bolt)
delet \oaiN (olen tT
Lett
VALU yAt yz: ie le aa trol oO R Ero)

Treysne ist bem Blanco (8) 1015)
PNi tle sii glick

UAL THe Set the weed 8 2B a kere 9)

ace we EMBL eR Corn iT=s)

VST iti ave at=>.4m Comini=) 910; (8)|

UALS PASAL SS SO es 8 od CONOR 8

Latte) be Bisy hey Basle (ei i518)

iMersiew me(s) Gjq@olelmersic Ng
baie Li VAN btn =)
Led Life atu
TALI PLOL tahoe bae-tcd =) (Unc om-9)

mace) plays

PVE at ote

ace tam eth
ar lettin
VALU el te Vieve (OR en- 9)

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celts Oza)

Pvt ribo

ere Liam elit |
Peete nce
PALTV L Salih: Mice re od) (OB eer 9)

cet Psi rem Den Cv ag |
AE lelgcowolomcietiareaa(cy (mon elien!

ear aN een
edie kL

Oi ple ez3

adele merc lamciarsle=MY 7} igo) 0] macs) Are)

Ladile civam elitr
artes
VALU ye Gal the iyde ORO 9)

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Shales arom olola isons

Pores aN oie

eet

baa ce) i) autem Blaslom Ce\vie lip)
Bhalcial corey aevere tia (ote koi
etc e tea h eat t=

Led Life atu

ett | pe

dies saath elt n Te
ar sts
CAL UPA PL at Oe Woe os (OR Om 9)

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TALS PLUPL Sa O eS ea fe od Oa Or 8)

CALAN PLS SO: eat 2d (U9 Oa 9)

TAL IPO a hoe. ee SU ee 8)

27
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e808] S1OyZ§

Piri onl e

eltle cise ele tt
are lieem
bal oy are ge os8|

relay eyz|

Naess
dies saath Ole Te
arti t

VALU: Se 0 owe a1 (OB Or 9)

PALTZ Se be bs ba a oY (ORR Oo 3)

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acelin leisS toe Blitinem(einlag
PAN ce

belie ti Nahe ban =)
Life ats
gz IP s0yz: ta elewa oa a (Unk eer)

ace BiH rem Dat eh eu tep |

1G }ate(cvm atom )t2)a).cc1a(0)}
Laie een
Lad 1(6 bs
TALI PAUPE Se Wy Biel swrz. dO RE Ore. 8)

ace tt sa tam D)urt sro (oy nl -1p)
is (s\kemome (0) ob) 0)(e maglelelig

bedi re aN etek
Lee te bo
PALI itv Sy ese es lee 91. ((U Een 9)

are)tin SM Eom Blase mel) 4-19)
noes}
Panel euttr=l|
Lait ta
TAL VAAOL Sa be Lene as Ua ene-9)

28
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ba £0) 61a Otsu ReM Blase (o)\itl=10)
AA's) WW aso brs i e)(6 Rolle all com (prot mn COmci0 (cs eam arciairs] aie mele) ia

ay uN Am PEt
eee)
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cot [eyz:!

Leu mn (olen
bee sus
TALS PAUyl We be bbe) YO Boo)

a cob bl aez§

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ee tN ein E ||
erie
TALS PAU AL eb be tt ma Cee Orr: ))

cela WisH Fem Byun srs A (oy 78(= 8)
PVE Coit alice

Lagilece anh lelttt=||
bea lice t ta
WAL LOAL Ss te be eect oa (Ue 8)

aren ew eem Blunts Mol valeap)
PME Lolt isa ticoe

bade lo c sTamN Cog are]|
baile cia

Vr e eB G tag bot ee oy) (OB Oo 9

cena isis Blanton (ey itl18
im (oW oo (ove bre toots eye Obi al (ow (=lecMaaicMsl (ov OM VIM sl eae) setelt] pa towel INZowciU(or Cole Mallat Reig] eM elioms} (21238)
Femeelb je) (ci flenisice

ream oon

alice
WALT AlLO0L i te be tole 2 (CU em 8)

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Lace) Beez

aloe bs}
Lael (eee
drt nse

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VALU: Se be be Cooe bod oa 1) (OB Ror 9)

Facer PERM ON sel ns)

boven a(e)aanvarcl a) (e)4 @ (Ole ich]
Leite PEN etek
Lede gu
PALS PALL ee oe7408 of | (UEC 9)

arent TH Fem Buiter Men NC=1)

Pirlo li oa

Lue em Neat
Lea fe ant
LB) a ate llc)
TAY PLOP2 ace o/s aod | (UN Ren 8)

aceltt teow D)inl om (oyusl=g)
Wieyarce|avarciolomcovantevers) Malle igielWealle lei olomcieo\7ie(e Meum a0) (21 MU Lig igre lel ele) va istsia Wl e)tc\cle MTL tp irs)
Uaii(seele [on

eile emote II

tie ttm
Tip) Ptee ee Ae beso) CORE en 8)

a re)se Blow bom Bint lorem (eV =1g)

PA le si ote

Leite PN ened)
Lad 81a
Pilsipatee ty Wael men UCU sen 8)

areyiiy [e}s fem Diarreve M (e) 741-13)

WYA'(=3 |W otojancojel(el iam ute\peromco)sslo)enely)
ete esate
Leaf nn

TELS VAUAL: Ss Parad NU eee)

30
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=

rein Beez

aren Mis bem BD) atime Mm (el) iii -1p)

PN tlm alti = thom

eeu Colbie |
els
Als) PAUP ae elton NOR ker: 9)

Aston tom tare)
Leite tiem olen
tite eh

Be aol
TALS PAUL Rowe eC Ror)

bea ce) be sabe Bien ie uaa

WViNVabal(cxevcsoil 8) ke)tnT =)
Pere Niort
eet
WHS PAL Bo OF Se a od 110 Kem 3)

ee tin OA}

saifororey iy
ere Liam elgitra |

Ete ce
PA lc}PAtyL: Bae she OA od) (OR Or 9)

ett eyzs

A ats\cowre nome MeO) Vcc)

Lasilecelvomy (egnnr|

Peele te
TALS PAU Pe Boe Moe tod LOR Or 9)

arelty Pee Eem Bem (en it 1p)
IN (rs) am step) ey MAY ss 0) Codes Wesy9) ane

TAL SAUPL Mskesl tO 8 od [(U RRO 3)

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co

Lace )it| pleyZ§

area)

PVE lms tle

aie iN ett ||
delete

(thsh Fos BJatero (oy 78-8)

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ace) tte Brew tee Blaticem (oyu glag

ere) MAINA Cole cic OLO ro Ws
baie Pah eta ar=
Led fe gu
Ais PL0L ae stea\ ti ted (OC Om- 8)

Lake g i peu eaM Bluntse Mls Tat =8)
MiYceYarii=i gome [0)) ave Cokre! Inc orl ecaes Mave)(o) Mae le)st mele) mi an ZsioM eomec ane .cce mn Otemcls(eN Ke e)melslg
oy Ta

ales ea eet)

lets
TLS POL. Ss Seay bes 08 211) (UN KO 3)

esi Wich Ean Meron (O89)
Hh g(=m ayo\ts\colo)satcies lms pl cdryo) ui ple ownli'=) =m a0) exe (81010 m(o)me~ 0)" | ae R11 (8-1 ums (e)|

eres ama ote lI
le Lt
PU PLVL EG eoy alr eo (Osc en: 8)

cet elem ba @)urlel Celis
OJ sl Va catiove mest Wwe tooo Ltt (om oleN'ge eco(ol18 (0 Minin ome [fobs alors in UL
eet ote
Po
Ud[\PLUPL Gs eey aes OB 2 URE Om 0)

PE eth NCR Oe: 9)

mols are\ cw Com (sim ellanmcome(einial(ere\em (oi(c1e] el g8)

daileLVamh elentr
Perlis
Be malo)

TALS PAUPL set om Wo (ORR Ore- 9)

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acelin Beh tem Blatiecem (yi glcig]

ls fa] atom acwoura10l (ioyiloar= 1 p1e e)al\ am 1)
Perea eine
Led fo gu
Wis PLOY seer Oro ood ( UN KO 9)

Lace) eyez.)

BSisieialg
tsoifec lvoe elsnnre)|

Lett
TALS PAUL: Be beatae Call 111 (RRO 9)

Celt BOL!

im (cM iowcie | ols] mabe.
edtle cis om oltt=
ere tte
VAS PAUL: Be ese OV Al 2d") OB Or: 9)

Lace) bt aed sre lar eR ein a)

Nios)
ret aN ernie
aa ice te
VALs3 PO: She aes 5a bom od WCU Ren 8

ace) Et] ise Fem Bute RCo) ita)
im (soa (Nome) Aloo AU om Oltohyc16 UVLO Ofc} (0) tom

Se Pa een
Led fo gn
Tis PLOY Mee ec 2 2d (CORK Ore 9)

Lacon bee!

Scere] LANs
ile tiem elit)

iT Lett
WAS PAt YL: Bees se col 111 (OB RO 9)

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acelin y Wish tam Btrieve Ce) ipl)
NA sroll Mei CoN=1@ Mm WU1 tA A som Ld (o¥) 8 e1 el on ig sre Ixsi8 (614) pL@ OLUL MATS MN co tomcdb| 812) m6 alo) 8

TA 7A072. Wa 10 Orapess- 3 2s (ONO 9 |

ce) Lee!

@) nisin)
delet \oaiN (olen tT

Lett
VAs PAt 2: Wa LOMO lo era i111 ORK Or 9)

te) nea thsi Fem Bante m (oie)
Re fe)eMetialiel au lWatcn(sirs mee rcla (ecm are allaole(e |e

Lede OeN OLLIE
beste Lu
TAS VAUyL. Se [Oe tle oa ere 9)

Le ce)tt| By!

alan
ates saath elt n Te
eats EEE
PA loxP.t Pz ba On oer oa) (ORR Or 9)

ace) Et] bled tee Blatieem (yi alcaa

ls (oa) BL o\022) rs | (6) BCom
erie Pan etn
Lad fe ti
TALS PAUP. Wale ne}: WO 2" (COE Om 9)

colt Wehrom Bien el (vita)

@)al\vain=rctse) pm ee e)0 (0M el-3(e) soem lou B= ml hYzve Mal). (ee (0,0) r= laom MN Ve)el (om stc\usm COM Totem RLSM MEN acsiss iE
Wire tomaV0) 8.41610 8

ileum entie|t

ir itetm
WULeS PAN AZ. Se Lene he ee 8 227 (10 Oe 8)

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cette eyes

Lossy [om are) Me) mal nle ol aN UENO) e=

Leet La een
tes

cesta pieyz.t

(@)
Lasile clivomn Cele tre]|
Pate is

celui bees

[@)
item enn]
a eis

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Alo a0 Pz: Se | Ora Leer 21 (OB Ror 9)

ace lisw Meio Bluse Covina)

Mil siom <coscm (=i eo ame els come lace tam are\cio cli Col Mae) BoM ATOM REL mal ceo UI UA ect mre (ole Me Ca c\d
lo)Ke) Comal on

tie tinea ett

ee st
UAL es PAS AZ. LO ee eats On 11 U Oa 8)

atc) bt Oley tey Btlem (en\ is 1p)

mic s}tean lism ial= me) (elo ale ioe

alte Li VAN gt i=)|
Led ie at
(iss PAO Tahoe nO On oN CUE g en. 8)

Pio PAU PZ Sal Om ee Sod enn On 9)

ace) Bish bow Dur erell (oy 111-18)
Bietzwoveysome)eslece laps Wicm tsi kam (eons) NSM sles =. NEI MEO girls
te usa) Ont D ||

rei
Wiis Pate oy eee Mtoe od (ORE en 9)

WAL PA Sal Om hoe ed ORO 9)

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Lace) ez!

PUAN ECD ALON ULCER Co1(crelecleOMUATcLMNY@LOM ro ihl COM Cale) MIM OLoM IL Com Arcl Mem LCcd

Leet La een

drt nse
PAs PAt yz Gal the bs Wo oN (CORE Or: 9)

Lace t Bisa tom BluiToeR (ey inp

sss aM ele] @ reroll ivan (e)|
ee aN eter}

Lede tt
Piietpat re Sal testa a ol (CRE Or 9)

areata BSS Fem Biatsre (ys -g)
lm te Nc mZOlU Mono 1m (0) Mere) tule] p(=M [Com Ural ee
eet etre

ey
TPL eae Ta VU Kear)

eo) a OZ!

iN {e)
dies staat elnn re
eerie ttt
PALS PAt PL a tO Oa =O RE Om 9)

Lace) Bisa toe Batik (ey inicig)
CO}aM Vers} ai Vo]0i(omVelUms(OmIm Mate(emce)na(=(e) atc)
erie Pan etn

Led fo gn
TAS PLUZ. Wa lO eS 2 CCR Eom: 8)

cea ee

A A'feMera lame (olr- mei ce)0] 9)
eile am elgtt= ||

iT Lett
VAs PAU 2: is | OZ Bhs) 11/1 OBR Or: 9)

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celui Oza}

ed te Nae I

Leet La een
tes
Aiea UP z: Ui | WAZ: tet 21 (OBR Or- 9)

Fee tem @aeseN Celuitt 19)
Sibi are)i aa iVelelo mele miisemesUl Mian tom | <ocw ley

elt oa elt)
eile uw
Peepers ty lt econ: eo (ORE On 8)

Celt Ope

iirc(o(oM sligamel ace mcitc|naits|| qlelem pce auets| mola le mcitlaeitercl «eve miei Moyvalitticmpicorelele| am cgis)
(ore) ahiicipstol(ie))
ute risa [eent ra

ai itieceh
FAs PAU eZ Ge Ley at lO eo (ORR On-9)

arent pet ke Bai ore (ey a=)
UM atehicte) aime l0 jvm olbiate(oMetoh<ipM am ert=1n mela M alll) come IN ctc lm
are AN le

elie tL
TULo) PAU PL Se | OF oral od" (CURE Or: 8)

eco) a rl eez:§

aiUi@ MaCcn'(=) M1 rs AR OlU me NV eMinomlnle moe) al role

baile lam olettre)
ret

CALs) 7.02: Se lt hees oe bell oa) (OR Or 9)

baico iat esa bem D)iticem Ce\iusiig)
Ln(oiks liso mo (¢121-) 6M Mato \/ome ms O)U le) (ema isycog ets la pm

Pe An
Seay
I SPPL aL uwdseated oO Kem 5)

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celts Opes

Ofoyaitoleit
Leet La een
drt nse

cet be, 0 72.3

| Gere NYA Lom 0) (0) bao (216!
edtle cis om oltt=
ere tte

mace) leyzs

BG atcie-ne)

Leite slam (elenite||
are LB

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Aiea UP: Si | OWS ee Pod 1 COB Ore 9)

aceite sR Eay Blu TareN (oy np)

LOxeltiComintal P23)
eel ea eet

Lede tt
Peietpat we. ool tes itir2 Sol (CRE Or 9)

PAL} PAU YZ: Sil ete a (BOR 9)

ace is Fem Dee RCL)

PNir-le pital ce

ALY PAN 72. SO ee be tard 21 1 (( 0 Ka 8)

batce) te ste Bus om (en is tp)
PTO) ERY 'Cc boats ade)
etc e tea h eat t=
Lede ie so
TAL ss PCL Th 0 es & holon a (UR ROR 8)

Ais PAU PZ Gal hielo OYA ose Rn Or 9)

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eco) tn pees

PN oe

itlo tl Noah ele ntye |
er tes

sO) a Bley

PME ei le

develo cl Va oti
Fleas

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aceite eisS toe Blinn (eitlag
PAN ce

Laie ea een
Lies
Ls bal ce iccie)

NEL} PASAL. Sy SOc: Sovord og 2110 Oe 8

Lace boleh Faw B)yelete W (ey iats1p)
A Ae cemoy'/=) mi a(s] com 0 (0) | 818 Mes0 | olera| ¢cvapal MO) g{oMcmcy (o1c)0) 1g (@Melam alow (ele)

ere sistem enti
belies
Td ssPA0ye Ma hoe: tenon 1 (Osc en-8)

cet eh iam Biatleg (ey ig p)
AYA/c}! op bin aicm oy {21 gem (0) exc a (eM ttle mre) anoM(e(c1e le) moib (ch. (in1e Le) fowZ
Pee ea elit
Late st
{Ls} PAUPE Sal Obese balked 1 (CUR Rem” 8)

VALoy M072: Si | Ooh ee od LOBE Or 9)

vA SIPLIPy Us teas woe IV ene)

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tetiy oez'

PN one

Leto omy (eenit
Par Ie Le
TALS PAUP2. Sal Oleass Pe od LOB Ore 9)

a ce)ip Lee

Pie io Ce

Let Aa ele tnre
glues
VAs PAU PZ: Wil Ota\< (COR Om: 9)

Leet 8}

PVE oul Ce

tese(o LV oottire|
eres
Vhios A072: UO hka)- wee od LOB Or 9)

colin az!

PVE one

Ledile cam ett
ret
UE[s Pty 2 Sa tas os (OR Oe 9)

baaceyis) besa Ram Bus tcreN Coy" iets 1g)
VWAibs) ea Ze)6 Marcle sxe) pe\>mo) mate) oie) coh 1 816)

ee ea Nett
beat te asi
Eley PAt PL. Sy bi be Oey I 2 Oe -9

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celts eyes

Via)

Leet La een
tes
VA Loi AUP: Si i il oor 211 ORR Or- 9)

Lace) na Bisa tom BluiTeeR Ce) inl -1p

1D) To Yel mes) eolpeitolL igre Com igre] ee lv ys

ee aN eter}
Leo us

Cet Baez}

coe m nite mal
edtle cis om oltt=
ere tte
Tels} PUY: Se Ge htc = (OR Om 9)

aac Misa Fem Dee RCN)

(6)
edie Li cette)
eae ta

Lace) ish toe BatioR Ce) iaicig)

PNW 0) 86a 1to ty
ae ea eon
Led fo gn

Lace) an bee!

Nie)
eile tiem elit)

iT Lett
WUis/ PAY: Bs wee bool tH W211) (RRO 9)

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Pe Pstee Se eee od (O REO 9)

Ais 1 PAG PZ. a i bes 2 AU ROD)

Alsi PAU72. Wh Poy or 108 21 [1B RO 9)

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Chats Telegram Evidence 2/4/2025 2412025
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Group photos:

Start Time: 6/9/2024 1:07:49 AM(UTC-4)
Last Activity: 9/28/2024 9:55:46 PM(UTC-4)

Number of attachments: 30
Source: Telegram
Account: Dmed
Chat Type: One On One
Body file: chat-0.txt
Participants:
M02
15
Dmed (owner)

